          Case 24-12842-djb                   Doc       Filed 03/14/25 Entered 03/14/25 07:45:18                                   Desc Main
 Fill in this information to identify the case:          Document     Page 1 of 4
 Debtor 1               Tyreek T Cooper
                       __________________________________________________________________

 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                            Eastern                          PA
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                             (State)
 Case number
                        24-12842
                        ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                              12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


                   Santander Bank, N.A.
 Name of creditor: _______________________________________                                                           8
                                                                                         Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                                  Date of payment change:
 identify the debtor’s account:                          6 ____
                                                         ____ 4 ____
                                                                9 ____
                                                                     2                   Must be at least 21 days after date        03 30 25
                                                                                                                                    ____/____/_____
                                                                                         of this notice


                                                                                         New total payment:                           1660.62
                                                                                                                                    $ ____________
                                                                                         Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
       No
       Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                   the basis for the change. If a statement is not attached, explain why: ___________________________________________
                   __________________________________________________________________________________________________

                   Current escrow payment: $ _______________                           New escrow payment:         $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
       No
       Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                   attached, explain why: _______________________________________________________________________________
                   __________________________________________________________________________________________________

                   Current interest rate:         _______________%                     New interest rate:          _______________%

                   Current principal and interest payment: $ _______________           New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
       No
       Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                   (Court approval may be required before the payment change can take effect.)
                                      number of days in the month changes the amount due
                   Reason for change: ___________________________________________________________________________________
                                               1768.18
                   Current mortgage payment: $ _______________                                                 1660.62
                                                                                       New mortgage payment: $ _______________


Official Form 410S1                                          Notice of Mortgage Payment Change                                               page 1
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                                                                   Document     Page 2 of 4

Debtor 1
                  Tyreek T Cooper
                 _______________________________________________________
                                                                                                                   24-12842
                                                                                               Case number (if known) _____________________________________
                 First Name      Middle Name              Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

      I am the creditor.
      I am the creditor’s authorized agent.


 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



    _____________________________________________________________
     Signature
                                                                                               Date
                                                                                                       03 14      2025
                                                                                                       ____/_____/________



                                                                                                       Bankruptcy Administrator
                     Melissa A. Epler
 Print:             _________________________________________________________                  Title   ___________________________
                    First Name                      Middle Name         Last Name



 Company
                     Santander Bank, N.A.
                    _________________________________________________________


                     1130 Berkshire Boulevard
 Address            _________________________________________________________
                    Number                 Street

                    Wyomissing                         PA        19610
                    ___________________________________________________
                    City                                                State       ZIP Code


                      484        512      3552                                                         DeftBkr@santander.us
 Contact phone      (______) _____– _________                                                  Email ________________________




Official Form 410S1                                                   Notice of Mortgage Payment Change                                           page 2
                                                          Case 24-12842-djb                     Doc         Filed 03/14/25 Entered 03/14/25 07:45:18                                   Desc Main
                                                                                                             Document     Page 3 of 4

                                                    Mail Code: 10-421-CN2
                                                    P.O. Box 12646
                                                    Reading, PA 19612                                                                                                     STATEMENT OF ACCOUNT
                                                    Customer Service: 1-877-768-2265
                                                    www.SantanderBank.com                                                                                          Account Number:
                                                                                                                                                                   Statement Date:                        03-07-2025
                                                                                                                                                                   Statement Period From:                 02-08-2025
                                                                                                                                                                   Statement Period Through:              03-07-2025
                                                                                                                                                                   Days in Statement Period:                      28
                                                              72-0.5400 000003BFXAZV2 1/2 BIN:0 0-287                                                              Current Balance:                      $216,688.45
                                                              TYREEK TYRAY COOPER                                                                                  Credit Line Amount:                         $0.00
                                                              1807 W MASTER ST                                                                                     Available Credit:                           $0.00
                                                              PHILADELPHIA PA 19121-4907                                                                           End of Draw Date:                      09-08-2026
                                                   AADTTTTFFADDADDFAAFTFTATDDDATFTAADAFAATTFAFDAAATAFADDDAADDDADDFFA                                               Minimum Payment:                       $68,137.80
                                                                                                                                                                   Payment Due Date:                      03-30-2025




                                                                                                               Important Message

                                                                                    Want a faster and more convenient way to get your account information?
                                                                                Enroll in online banking and our Mobile Banking App – it takes just a few minutes.




                                                                                                                                                                         LY
                                            ACCOUNT BILLING SUMMARY                                                                          ACCOUNT BALANCE SUMMARY
72-0.5400 000003BFXAZV2 1/2 BIN:0 0-287




                                           Principal Due                                                 $725.55                            Beginning Balance                                  $219,339.38




                                                                                                                                                             N
                                           INTEREST CHARGE Due                                           $935.07                            Advances                                                   $0.00
                                           Past Due Amount                                          $49,856.59                              Payment Received                                     $3,586.00
                                           Late Charges Due                                             $1,428.04                           Insurance Premium
                                                                                                                                            O                                                          $0.00
                                           Fees Due                                                 $15,192.55                              INTEREST CHARGE                                          $935.07
                                           Payment Shortage                                                $0.00                            Late Charges                                               $0.00
                                           Total Minimum Payment Due                                $68,137.80                              Fees                                                       $0.00
                                                                                                                                            Adjustments                                                $0.00
                                                                                                                           L
                                                                                                                                            Ending Balance                                     $216,688.45
                                                                                                                                            Unapplied Credit Balance                                   $0.00
                                                                                                              A

                                                                                               SUMMARY OF REVOLVING ACCOUNT BALANCE
                                          Periodic Rate From                                                     02-08-2025                 Periodic INTEREST CHARGE                                           $935.07
                                          Periodic Rate Through                                                  03-07-2025                 ANNUAL PERCENTAGE RATE                                              7.0000
                                                                                     N


                                          Payment Amount                                                          $1,660.62
                                          Daily Periodic Rate *                                               0.0001917808
                                          Balance Subject to Interest Rate                                      $174,132.60                 Ending Principal                                               $173,350.69
                                               * The daily periodic rate may vary.
                                                                                    R



                                                                                        TRANSACTION ACTIVITY SINCE YOUR LAST STATEMENT
                                          Posting Date             Effective Date          Activity Description                                                                           Amount              Balance
                                                                   02-08-2025              BEGINNING PRINCIPAL                                                                                             $174,813.85
                                                             E




                                          02-20-2025               02-14-2025              PAYMENT RECEIVED - THANK YOU                                                                    $734.57         $174,079.28
                                                                                           TO PRINCIPAL                                                                                    $734.57
                                          02-20-2025               02-14-2025              PAYMENT RECEIVED - THANK YOU                                                                  $1,083.25         $174,079.28
                                                                                           ** INTEREST CHARGE **                                                                         $1,083.25
                                                            T




                                          03-10-2025               03-04-2025              PAYMENT RECEIVED - THANK YOU                                                                    $728.59         $173,350.69
                                                                                           TO PRINCIPAL                                                                                    $728.59
                                          03-10-2025               03-04-2025              PAYMENT RECEIVED - THANK YOU                                                                  $1,039.59         $173,350.69
                                          IN




                                                                                           ** INTEREST CHARGE **                                                                         $1,039.59
                                                                   03-07-2025              ENDING PRINCIPAL                                                                                                $173,350.69




                                                                                                               Please return this portion with your check.




                                                                                                                           Account Number                     Due Date           Payment Due         Amount Enclosed
                                                                                                                                                             03-30-2025          $68,137.80

                                             TYREEK TYRAY COOPER
                                             1807 W MASTER ST
                                             PHILADELPHIA PA 19121-4907



                                             Make Check Payable To:


                                                                      Santander Bank, N.A,
                                                                      P.O. Box 847051
                                                                      Boston, MA 02284-7051
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                           UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF PENNSYLVANIA
In Re:                                                                Chapter #13
Tyreek T Cooper                                                       Case No. 24-12842
                                                                      Honorable Derek J Baker

Debtor
____________________________________________/

                                  CERTIFICATE OF SERVICE

        I, Melissa A. Epler of Santander Bank, N.A., do hereby certify that on March 14, 2025, I
caused to be served a copy of the Notice of Payment Change on the service list below by having a
copy of the same mailed by first class mail, postage prepaid or other method specified on service list.
        Signed under the penalties of perjury, this 14th day of March 2025.




                                                               _______________________________
                                                               Melissa A. Epler
                                                               Santander Bank, N.A.
                                                               Bankruptcy Administrator
                                                               1130 Berkshire Boulevard
                                                               Wyomissing, PA 19610
                                                               (484) 512-3552
                                                               Email: DeftBkr@santander.us



VIA US MAIL
TYREEK T COOPER
1807 W MASTER ST
PHILADELPHIA, PA 19121-4907

VIA ECF
KENNETH E WEST
190 N Independence Mall W Ste 701
PHILADELPHIA, PA 19106-1554

EDWARD JACOB GRUBER
HELP@CIBIKLAW.COM
